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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS

UNITED STATES and )
STATE OF TEXAS exrd. )
 Frank Adomitis, Qui Tam Relator, ) Case No.
                                                     )
v. ) FILED IN CAMERA UNDER SEAL
                                     ) Pursuant to 31 U.S.C. § 3730(b)(2)
LIBERTY COUNTY HOSPITAL DISTRICT NO.l)
DBA LIBERTY DAYTON REGIONAL ) DO NOT ENTER ON PACER
       MEDICAL CENTER, Defendant. ) DO NOT PLACE IN PRESS BOX
                                                     ) JURY TRIAL DEMANDED


                                   ORIGINAL COMPLAINT

       Qui Tam Relator Fra k Adomitis ( Adomitis or Relator ), individually and on behalf of

the United States of America and the State of Texas, alleges as follows:


       1. Since at least 2003, and continuing to the present, Liberty County Hospital

District No. 1 doing business as Liberty If ay ton Regional Medical Center ( Liberty”), knowingly

presented millions of dollars in false claims to the United States and Texas for payment in

violation of False Claims Ac , 31 U.S.C. § 3729 et seq., as amended, and the Texas Medicaid Fraud


Prevention Act (“TMFPA ), Hum. Res. Code § 36.001, et scq. in that, Defendant billed Medicare

 nd Texas Medicaid for costs and services th t were not reimbursable or reimbursable at a lower

rate. Specifically, Defendant billed federally funded healthc re programs, including Medicare

and Texas Medic id, for Critical Access Hospital (“CAH”) health care services and costs that

were no eligible for payment or were eligible for payment at a lower rate because Liberty did

not meet the distance requirements to qualify as a CAH.


       2. Liberty is not separated from the nearest hospital by more than 15 miles in which

there is no primary road (and is not a necessary provider), so cannot qualify as a CAH. By falsely

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certifying and recertifying Liberty s CAH status on cost reports and other claims, Defend nt

then knowingly and recklessly billed federally funded health care programs, including Medicare

and Texas Medicaid, for milhons of dollars at the higher CAH reimbursement rates and payment

structures.



                                 JURISDICTION AND VENUE

       3. United States Courts for the Eastern District of Texas have jurisdiction over the

claims pursuant to the Federal False Claims Act, 31 U.S.C. 55 3732(a), (b), because Relator is a

private person bringing a civil action on behalf of the United States Government for violations of

31 U.S.C. 6 3729, ct seq.; because the United States is a plaintiff, 28 U.S.C. § 1345, because Relator


is bringing a civil action brought under the laws of the State of Texas for the recovery of funds

paid by a State agency also arising from the transactions or occurrences as proscribed under 31

U.S.C. § 3729, et seq.; and because Defendant transact business within the Eastern District of


Texas. Furthermore, this Court possesses proper jurisdiction pursuant to 28 U.S.C. § 1331

(federal question).


       4. Venue is proper in the Eastern District of Texas under 28 U.S.C. §§ 1391(b) and

(c), and 31 U.S.C. § 3732(a), because the acts proscribed by 31 U.S.C. § 3729, et seq., and

complained about herein took pl ce in this District and because at all relevant and material

times, Defendant transacted business in the Eastern District of Texas.

       5. All conditions precedent to bring this suit have occurred.



                                             PARTIES

       6. Qi/j Tam Relator/Plaintiff, Frank Adomitis, is a citizen of the United States,

and a resident of the State of California. In accordance with the False Claims Act, 31 U.S.C. §



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3729 ct s q. and TMFPA § 36.101, Relator brings this action on behalf of, and in the name of, the

United States and the State of Texas. The llegations contained within this Complaint are

within Relator s personal knowledge and experience.


       7. Defendant, Liberty County Hospital District No. 1 db Liberty-U yton

Regional Medical Center ( Liberty ), is a Texas non-profit corporation located at 1353 North

Travis Street, Liberty, Texas 77575-3549, the ( Hospital ). Liberty’s National Provider Identifier

is 1881769222. Liberty’s Medicare Number is 451375.


                                            THE LAW

       8. The False Claims Act provides in relevant p rt that:


               (a) Any person who (1) knowingly presents, or causes to be presented,
           to an officer or employee of the United States Government ... a false or
           fraudulent claim for payment or approval; (2) knowingly makes, uses, or
           causes to be made or used, a false record or statement to get a false or
           fraudulent claim paid by the Government; (3) conspires to defraud the
           Government by getting a false or fraudulent claim paid or approved by the
           Government; ... or (7) knowingly makes, uses, or causes to be made or
           used, a false record or statement to conceal, avoid, or decrease an
           obligation to p y or transmit money or property to Government, ... is
           liable to the United States Government for a civil penalty of not less than
           $5,000 and not more than $10,000, plus 3 times the amount of the
           damages which the Government sustains because of the act of that person
           ... (b) for purposes of this section, the terms knowing and “knowingly
           mean that a person, with respect to information (1) has actual knowledge
           of the information; (2) acts in deliberate ignorance of the truth or falsity of
           the information; or (3) acts in reckless disregard of the truth or falsity of
           the information, and no proof of specific intent to defraud is required.



31 U.S.C.S 3729(a).



       9. A private person may bring a civil action for a violation of section 3729 for the

person nd for the United States Government. The action shall be brought in the name of the

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Government. The action may be dismissed only if the court nd the Attorney General give

written consent to the dismiss l and their reasons for consenting. See Title 31 U.S.C. §


3730(b)(1).
       10. Under 31 U.S.C. §§ 3730(d)(1), (2), a Qui Tam Plaintiff is entitled to share of

award as follows:

                If the Government proceeds with an action brought by a person
                under subsection (b), such person shall, subject to the second
                sentence of this paragraph, receive at least 15 percent but not more
                than 25 percent of the proceeds of the action or settlement of the
                claim, depending upon the extent to which the person
                substanti lly contributed to the prosecution of the action ...



                If the Government does not proceed with an action under this
                section, the person bringing the action or settling the claim shall
                receive an amount which the court decides is reasonable for
                collecting the civil penalty and damages. The amount shall be not
                less than 25 percent and not more than 30 percent of the proceeds
                of the action or settlement and shall be paid out of such proceeds.


        11. Liability under the FCA attaches when a defendant submits a cl im for payment

to the Government in which the defendant makes specific representations about the items or

services provided, but fail to disclose defendant s noncomphance with               material statutory,

contractual, or regulatory requirement, although noncompliance renders the representations

about the items or services provided misleading. See Universal Health Services, Inc. v. United States, 136


S. Ct. 1989,2001,195 L. Ed. 2d 348 (2016).


        12. False statements by a hospital on Medicare cost reports that i creases payments

to the hospital are m terial and actionable under the False Claims Act. United States v. Bourseau,


531 F.3d 1159, 1165 ( th Cir. 2008)( [C]ost report entries were materi l because they had the

potential effect, or natural tendency, to decrease the amount [defendant] owed Medicare in

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overpayments, despite the fact that cost reports were never audited. ); .S. ex rel. Kennedy v. Aventis


Pharm., Inc., 610 F. Supp. 2d 938, 943 (N.D. 111. 2009)(materiality requirement is satisfied if the

relator pleads (1) a description of how payments are calculated is plead from which a reasonable

inference may be drawn th t the inclusion of false st tements in cost report increase payments

to the hospital, and (2) alleg tions that the hospital ctually received significant payments for

the relevant time periods).


        13. Each Medicare cost report submitted by a hospital contains a certific tion

statement whereby the hospit l expressly certifies that I am familiar with the l ws and

regulations regarding the provision of health c re services and that the services identified in this

cost report were provided in compliance with such laws and regulations.


        14. FCA violations can be based upon a false certification of statutory or regulatory

compliance when the certification w s a condition of or prerequisite to payment by the

government. Mason v. Medline Indus., Inc., 731 F. Supp. 2d 730, 739 (N.D. 111. 2010). Cost report


certifications are a required condition of government payment under federal he lthcare


programs. Id. Certifications are material to government reimbursement under Medicare. Id.


        15. Companies, like the Defendant, “will be liable for violations of the F lse Claims

Act if its employees were acting within the scope of their authority and for the purpose of

benefitting the corporation. Unit d States v. Hangar One, Inc., 563 F.2d 1155,1158 (5th Cir. 1977); see

also Am. Soc. of Meek Engineers, Inc. v. Hydrolevel Corp., 456 U.S. 556, 565-66,102 S. Ct. 1935,1942, 72


L. Ed. 2d 330 (1982) (“[Pjrincipals are Fable when their agents act with apparent authority.”);

U.S. e rel. Mavra v. Kellogg Brown d Root, Inc., Ill F.3d 343, 353 (5th Cir. 2013) (corporations are




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liable under the FCA for misconduct of employees cting (a) within the scope of their

employment, or (b) outside the scope of their employment with apparent authority).


          16. When calculating FCA damages when an offset is appropriate, the amount of the

Medicare/Medicaid payments should be tripled, and the statutory penalty added for each of the

invoices. The Supreme Court explained that when deducting the bargain received from a

defendant, a court must begin with the already tripled amount. See Longhi, 575 F.3d at 473, citing

United States v. Bornstein, 423 U.S. 303, 314 (1976) (superseded on other grounds). If an offset were

allowed for any benefit the Government received, the offset would come off the treble dam ges,

not before. See Longhi, 575 F.3d at 473.


                             CRITICAL ACCESS CARE HOSPITALS
          17. Congress created a favorable Medicare reimbursement schedule and cost

reimbursement p yment, for rural facilities designated as “critical access hospitals.” 42 U.S.C. §§

13951-4,1395f. “A critical access hospital is defined in part by the type of roads that connect the

facility to the next ne rest hospital.” Baylor County Hospital District v. Price, 850 F.3d 257, 259

(2017).

          18. To be a CAH, a hospital must be “located more than a 35-mile drive (or ... in are s

with only secondary roads vailable, a 15-mile drive) from a...” another hospital, 42 U.S.C. §

1395i-4(c)(2)(B)(i)(I). There are two standards to judge whether a hospital meets the CAF1

distance requirements: (1) a 15 mile standard if only secondary roads re available, and (2) a 35

mile default standard if roads other than second ry roads are available. Baylor, 850 F.3d at 259.

          19. There are three types of primary roads: (1) numbered federal highways, including

interstates, intrastates, expressways or any other numbered federal highway; (2) numbered

state highways with two or more lanes each way; and (3) roads shown on a map prepared in


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accordance with the U.S. Geological Survey's Federal Geographic Data Committee Digital

Cartographic Standard for Geologic Map Symbolization as a primary highway, divided by

median strip. Id.


       20. To qualify under the secondary roads provision, a f cility must be separated from

the nearest hospital by more than 15 miles in which there is no primary road. Id. at 259 260. That

is, there must be more than 15 miles of road between the hospitals that is not a numbered federal

highway, a numbered state highway with two or more lanes each way, or a road shown on a


particular map as a primary highway divided by median strip. Id.

                                    THE MEDICAID PROGRAM

       21. The United States and the State of Texas fund the Texas Medicaid Program

Medicaid, Chapter 32 of the Human Resources Code. Texas Medicaid is administered through

the Department of Health and Human Services, the Texas Medicaid & Healthcare Partnership,

the Texas Department of State Health Services, and Texas Health and Human Services

Commission ( HHSC or Commission ).

        22. Federal health care program” in 42 U.S.C. 5 1320a-7b(b) means any plan or

program that provides health benefits, whether directly, through insurance, or otherwise, which

is funded directly, in whole or in part, by the United States. 42 U.S.C. § 1320a 7b(f). Texas

Medicaid is a federal health care program.

        23. At all relevant times, the hospital owned, operated, or managed by Defendant

submitted claims to Texas Medicaid.

                          TEXAS MEDICAID FRAUD PREVENTION ACT

        24. TMFPA § 36.101 authorizes a private person to bring a civil action for a violation

of TMFPA § 36.002 for the person and for the state. Whether or not the state proceeds with the



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action, the person bringing the action may recover an aw rd. TMFPA § 36.110. Under TMFPA 5

36.002, a person commits an unlawful ct under the TMFPA if the person

       (1) knowingly makes or causes to be made a false statement or misrepresentation of a
       material fact to permit a person to receive benefit or payment under the Medicaid
       program that is not authorized or that is greater than the benefit or payment that is
       authorized. TMFPA § 36.002(1).

       (4) knowingly makes, causes to be made, induces, or seeks to induce the making of a
       false statement or misrepresentation of material fact concerning: (B) information
       required to be provided by a federal or st te law, rule, regulation, or provider agreement
       pertaining to the Medicaid program; TMFPA § 36.002(4).


       (13) knowingly engages in conduct that constitutes a violation under Section 32.039(b).


        A person violates Hum. Res. Code. 532.039(b) if the person:


       (1) presents or causes to be presented to the commission a claim that contains a
       statement or representation the person knows or should know to be false.



                                 PERSONAL KNOWLEDGE

       25. The factual allegations contained in this document are within the personal

knowledge of Relator. The allegations are consequently based on his personal knowledge nd

experience.



                                  FACTUAL ALLEGATIONS

       26. Liberty operates a hospital at 1353 N Travis St, Liberty, Texas 77575, known as

Liberty-Dayton Regional Medical Center.


       27. Liberty files annual cost reports with the CMS and Texas Medicaid. These

reports contai an identical certification statement:


       ...and to the best of my knowledge and belief, this report and statement are true, correct,
       complete and prepared from the books and records of the provider in accordance with

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        applicable instructions, except as noted. I further certify that I am fa iliar with the laws
        and regulations regarding the provision of he lth care services, and that the services
        identified in this cost report were provided in compliance with such laws and
        regulations.

        28. However, since at least 2003, each of these reports contained the false statement

that Liberty qualifies as a CAH. For example, on its 2016 fiscal year cost report Liberty answered

Yes to question 105.00 Does this hospital qualify as a CAH?


        29. Houston Methodist Baytown Hospital ( Baytown ) formerly Houston Methodist

San Jacinto Hospital is a hospital located at 4401 Garth Road, Baytown, Texas 77521. Baytown is

the closest hospital to Liberty t 30.2 miles away. Baytown opened in 1948, more than 70 years

ago.1



        30. Primary roads make up 25.1 miles of th t 30.2 mile route. Liberty is separated

from the nearest hospital, Baytown, by only 5 miles in which there is no primary road.


        (a) secondary roads: 5 miles


                (1) N Travis and Bowie St, Liberty, Texas to US 90:1.1 miles


                (2) L10 W exit 793, N. Main St and Baker Rd. to Baytown: 3.9 miles.


        (b) primary roads: 25.1


                (1) U.S. Highway 90 or U.S. Route 90: 5.7 miles


                (2) Texas State Highway 146, a numbered state highway with two or more
                        lanes each way: 15.4 miles

                (3) Interstate 10: 4 miles.


        31. To qualify under the secondary roads provision, a facility must be separated from

the nearest hospital by more than 15 miles in which there is no primary road. There are about

About Baytown Hospital, https://ww .houstonmethodist.org/locations/bavtown/about/.

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 five miles of that separates Liberty from Baytown in which there is no primary road, therefore

 Liberty does not meet the mile ge qualifications for CAH status.


         31. As a consequence of its fraudulent CAH status, since at least 2003 Liberty has

 availed itself of reimbursement payment enhancements including, reimbursement based on 101

 percent of reasonable costs for inpatient, outpatient, and covered skilled nursing;

 reimbursement for on-call emergency room providers, including physicians assistances, nurse

 practitioners, and clinical nurse specialists; and payment under periodic interim p yment

 method for inpatient services.


         32. As a consequence of its fraudulent CAH status, since at least 2003 Liberty has

 elected to be billed under the elective TEFR 2 method, which allows for a cost plus fee schedule

 for professional services. Liberty w s reimbursed up to 115 percent of the allowable amount for

 professional services and 115 percent of 85 percent of the allowable amount for non-professional

 services.



         33. As a consequence of its fraudulent CAH status, since at least 2003 Liberty was

 reimbursed a greater rate of its costs than it should receive from Medicare and Texas Medicaid.


                                        FIRST CLAIM FOR RELIEF
                       Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(A)
                                            Presenting False Claims

         34. Since at least 2003 and continuing to the present, Defendant knowingly

 submitted or caused the submission of false claims to the United States for payment. Defendant

 submitted claims that were not eligible for reimbursement or were eligible at the lower standard

 rate, including clai s for services which were reimbursed at the higher CAH rate and cost



 2 Tax Equity and Fiscal Responsibility Act of 1982 (Pub.L. 97-248).

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reports for reimbursement of costs at the higher CAH rate. Defendant was aware or recklessly

 disregarded CAH requirements, but knowingly or recklessly certified that Liberty was qualified

 as a CAH on cost reports. Defendant then knowingly and recklessly billed federally funded

 health care programs, including Medicare for services and costs as a CAH when it did not

 qualify.

            35. The United States was unaware of the falsity of the claims submitted or caused to

 be submitted by Defendant and in rehance on the accuracy thereof, paid the false claims because

 the Defendant knowingly submitted claims for CAH schedule services and costs without

 disclosing that it did not qualify as a CAH due to distance requirements


                                  SECOND CLAIM FOR RELIEF

                       Violation of False Claims Act, 31 U.S.C. S 372 (a)(1)(B)
                                       Maki g False Statements

            36. Since at least 2003 and continuing to the present. Defendant knowingly made or

 caused to be made or used false statements to obtain payments from the United St tes for false

 or fraudulent claims. These claims were for services nd cost reimbursement. Defendant was

 aware or recklessly disreg rded CAH distance qualific tions, but certified that Liberty qualified

 as a CAH. Defendant then knowingly and recklessly billed federally funded health care

 programs, including Medicare and Medic id, for costs and services that the higher CAH

 reimbursement rates.

            37. The United States was unaware of the falsity of the statements made or caused to

 be made by Defendant and in reliance on the ccuracy thereof, paid the false claims because the

 Defendant knowingly submitted claims for CAH schedule services nd costs without disclosing

 that it did not qualify as a CAH due to distance requirements.




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                                 THIRD CLAIM FOR RELIEF

                         Hum. Res. Code Sec. 36.002(13), 32.039(b)(1)
                                   Presenting False Claims

        38. Since at le st 2003 and continuing to the present, Defendant presents or causes to

 be presented to the commission a claim that contains a statement or representation the person

 knows or should know to be false, in violation of Hum. Res. Code § 32.039(b)(1), and therefore

 violated TMFPA § 36.002(13), in that Defendant falsely certified that it qualified as a CAH on

 cost reports for a higher reimbursement, when it failed to meet the distance requirements.

        39. Each of Defendant claims to Medicaid for CAH reimbursed services and costs,

 constitutes an Unl wful Act under Tex. Hum. Res. Code § 36.002(13).


                                 FORTH CLAIM FOR RELIEF

                                 Hum. Res. Code Sec. 36.002(1)
                             False Statements to Receive a Benefit


        40. Since at least 2003 and continuing to the present, Defendant knowing made or

 caused to be made false statements and misrepresentations of material fact to permit a person to

 receive a benefit or p yment under the Medicaid Progr m that is not authorized or that is

 greater than the benefit or payment that is authorized in violation of TMFPA § 36.002(1).

        41. Each of Defendant cl ims to Medicaid for CAH reimbursed services and costs,

 constitutes an Unl wful Act under Tex. Hum. Res. Code § 36.002(1). Defendant’s false

 statements and/or misrepresentations permitted them to receive benefits under the Medic id

 program that were greater than benefits authorized, in violation of TMFPA § 36.002(1).




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                                   FIFTH CLAIM FOR RELIEF

                                Hum. Res. Code Sec. 36.002(4)(B)
                          False Statements Concerning Material Facts



        42. Since t le st 2003 nd continuing to the present, Defendant made, or caused to

 be made, induced, or sought to induce, the making of false statements or misrepresentations of

 material facts concerning information required to be provided by a federal or state law, rule,

 regulation or provider agreement pertaining to the Medicaid Program in violation of TMFPA 5

 36.002(4)(B).

        43. Each of Defendant claims to Medicaid for CAH reimbursed services and costs was a

 false statement or misrepresentation of a material fact concerning information required to be

 provided by a federal or state law, rule, regulation or provider agreement pertaining to the

 Medicaid Program in violation of TMFPA S 36.002(4)(B).

                                      PRAYER FOR RELIEF
        WHEREFORE, ui Tam Realtor/Plaintiff, Frank Adomitis, requests that judgment be

 entered in its favor and against Defendant, as follows:


        A. Three times the amount of damages that the United States sustains because of

                 the acts of the Defendant, and two times the amount of damages that the State of

                 Texas sustains because of the acts of the Defendants.

        B. The statutory civil penalty of for each violation of the F lse Claims Act and Texas

                 Medicaid Fraud Prevention Act.


        C. An award to the ui Tam Plaintiff for collecting the civil penalties and damages;

        D. Award of an amount for reasonable expenses necessarily incurred;

        E. Award of the Qui Tam Plaintiff’s reasonable attorneys’ fees and costs;

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            Interest; and

            Such further relief as the Court deems just.



                                          Respectfully submitted,

                                          HILDER & ASSOCIATES. P.C.




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                                          ATTORNEYS FOR UI TAM RELATOR,
                                          Frank Adomitis
